









Dismissed and Opinion filed June 6, 2002









Dismissed and Opinion filed June 6, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00459-CR

____________

&nbsp;

JOSHUA EMANUEL HART, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
230th District Court

Harris County,
Texas

Trial Court Cause
No. 889,396

&nbsp;



&nbsp;

O P I N I
O N

Appellant
pled guilty to aggravated robbery on February 11, 2002 .&nbsp; In accordance with the terms of a plea
bargain agreement with the State, the trial court sentenced appellant to
fifteen years confinement in the Texas Department of Criminal
Justice--Institutional Division.&nbsp; Because
we have no jurisdiction over this appeal, we dismiss.&nbsp; 








To
invoke an appellate court=s jurisdiction over an appeal, an appellant must give timely
and proper notice of appeal.&nbsp; White v. State, 61 S.W.3d 424, 428 (Tex. Crim.
App. 2001).&nbsp; Appellant filed a
timely general notice of appeal that did not comply with the requirements of
Rule 25.2(b)(3) of the Texas Rules of Appellate
Procedure.&nbsp; See Tex. R. App. P. 25.2(b)(3).&nbsp; Rule 25.2(b)(3)
provides that when an appeal is from a judgment rendered on a defendant=s plea of guilty or nolo contendere and the
punishment assessed does not exceed the punishment recommended by the State and
agreed to by the defendant, the notice of appeal must:&nbsp; (1) specify that the appeal is for a
jurisdictional defect; (2) specify that the substance of the appeal was raised
by written motion and ruled on before trial; or (3) state that the trial court
granted permission to appeal.&nbsp; Id.&nbsp; The time for filing a proper notice of appeal
has expired; thus appellant may not file an amended notice of appeal to correct
jurisdictional defects.&nbsp; State v. Riewe, 13 S.W.3d 408,
413-14 (Tex. Crim. App. 2000).&nbsp; Because appellant=s notice of appeal did not comply
with the requirements of Rule 25.2(b)(3), we are
without jurisdiction to consider any of appellant=s issues, including the voluntariness of the plea.&nbsp;
See Cooper v. State, 45 S.W.2d 77, 83 (Tex. Crim.
App. 2001) (holding that appellant who files general notice of appeal may not
appeal voluntariness of negotiated plea).&nbsp; 

Accordingly,
we dismiss the appeal for want of jurisdiction.&nbsp;


&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Opinion filed June 6, 2002.

Panel consists of Justices Hudson, Fowler, and
Edelman. 

Do Not Publish C Tex. R. App. P. 47.3(b).

&nbsp;





